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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                       :
                                                    :
          v.                                        :
                                                    :   Criminal No. 03-331(CKK)
WALDEMAR LORENZANA,                                 :
                                                    :
          Defendant.                                :


                       DEFENDANT’S OPPOSITION TO GOVERNMENT’S
                        MOTION TO PROCEED UNDER 18 U.S.C. § 4244

                 DEFENDANT Waldemar Lorenzana, by and through undersigned counsel,

respectfully submits this opposition to the government’s Motion to Proceed Under 18 U.S.C. §

4244, and states as follows:

                 1.      The Court is aware of the procedural history of this case and it will not be

repeated here.

                 2.      The government takes 22 pages to argue that this Court should proceed

pursuant to 18 U.S.C. § 4244 rather than 18 U.S.C. § 4241, apparently in an attempt to lay the

groundwork for a later request that the Court should provisionally sentence a 75-year old man

with Alzheimer’s Disease to the statutory maximum of 40 years. In doing so it conflates and

confuses the issues of competency with issues of mental disease or defect. The government is

not only barking up the wrong tree – it is not even in the same forest.

                 3.      18 U.S.C. § 4241(a) concerns issues of a defendant’s competency and

states:

          Motion To Determine Competency of Defendant.— At any time after the
          commencement of a prosecution for an offense and prior to the sentencing of the
          defendant, or at any time after the commencement of probation or supervised
          release and prior to the completion of the sentence, the defendant or the attorney
          for the Government may file a motion for a hearing to determine the mental
          competency of the defendant. The court shall grant the motion, or shall order such
          a hearing on its own motion, if there is reasonable cause to believe that the
          defendant may presently be suffering from a mental disease or defect rendering
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       him mentally incompetent to the extent that he is unable to understand the nature
       and consequences of the proceedings against him or to assist properly in his
       defense.

18 U.S.C. § 4241 (emphasis added). On its face, the statute contemplates that the Court

can make competency findings “prior to the sentencing of a defendant.”

               4.      If, after the required evaluation and hearing, the Court determines that Mr.

Lorenzana is not competent, then the Court

       shall commit the defendant to the custody of the Attorney General. The Attorney
       General shall hospitalize the defendant for treatment in a suitable facility—
               (1) for such a reasonable period of time, not to exceed four months, as is
       necessary to determine whether there is a substantial probability that in the
       foreseeable future he will attain the capacity to permit the proceedings to go
       forward; and
               (2) for an additional reasonable period of time until—
                       (A) his mental condition is so improved that trial may proceed, if
               the court finds that there is a substantial probability that within such
               additional period of time he will attain the capacity to permit the
               proceedings to go forward; or
                       (B) the pending charges against him are disposed of according to
               law;
       whichever is earlier.

18 U.S.C. § 4241(d).

               5.      On the other hand, 18 U.S.C. § 4244 concerns a defendant’s mental

disease of defect – not competency – and states:

       Motion To Determine Present Mental Condition of Convicted Defendant.— A
       defendant found guilty of an offense, or the attorney for the Government, may,
       within ten days after the defendant is found guilty, and prior to the time the
       defendant is sentenced, file a motion for a hearing on the present mental condition
       of the defendant if the motion is supported by substantial information indicating
       that the defendant may presently be suffering from a mental disease or defect for
       the treatment of which he is in need of custody for care or treatment in a suitable
       facility. The court shall grant the motion, or at any time prior to the sentencing of
       the defendant shall order such a hearing on its own motion, if it is of the opinion
       that there is reasonable cause to believe that the defendant may presently be
       suffering from a mental disease or defect for the treatment of which he is in need
       of custody for care or treatment in a suitable facility.


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18 U.S.C. § 4244(a).

               6.      If, after the required evaluation and hearing, the Court determines that the

defendant is suffering from a mental disease or defect “and that he should, in lieu of being

sentenced to imprisonment, be committed to a suitable facility for care or treatment, the court

shall commit the defendant to the custody of the Attorney General. The Attorney General shall

hospitalize the defendant for care or treatment in a suitable facility. Such a commitment

constitutes a provisional sentence of imprisonment to the maximum term authorized by law for

the offense for which the defendant was found guilty.” 18 U.S.C. § 4244(d).

               7.      Dr. Manuel Gutierrez, Forensic Psychologist at FCI Butner, evaluated Mr.

Lorenzana and concluded that that he suffered from possible Alzheimer’s disease; that the

condition has significantly interfered with Mr. Lorenzana’s factual understanding of the

proceedings against him; and that the condition has compromised his rational understanding of

the case as well as his ability to assist counsel. Based on these factors, Dr. Gutierrez concluded

that Mr. Lorenzana is not competent to proceed with sentencing. Mr. Lorenzana does not

challenge Dr. Gutierrez’ findings. After much contemplation, the government represented to the

Court that it also would not challenge Dr. Gutierrez’ conclusion.

               8.      However, the government seems to suggest that the application of Section

4241 (d) (2)

               “would encourage a mentally ill defendant to refuse medication or malinger in the
               hope that he could escape sentencing and imprisonment or commitment. In
               contrast, a defendant may be less likely to engage in those actions if he knew that
               they could lead to a provisional sentence that is far longer than the actual sentence
               he would otherwise receive. Cf. United States v. Wolfson, 616 F. Supp. 2d 398,
               421 (S.D.N.Y. 2008) (noting that “there is little incentive for the defendant to
               falsify delusions for purposes of sentencing” because the court’s finding of mental
               disease or defects under Section 4244 results in a provisional sentence to the
               maximum statutory term of imprisonment).”


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               9.      The Government’s attempt to suggest that Mr. Lorenzana is likely to

falsify his condition to escape sentencing and prison shows little knowledge about the nature of

this insidious disease and is particularly offensive to those suffering from Alzheimer’s. As

pointed out by Dr. Cynthia A. Munro in her affidavit:

               Regarding the prognosis of patients with Alzheimer’s disease, cognitive and
               functional decline is inevitable. As their disease progresses, they become
               increasingly dependent on others, their neuropsychiatric symptoms become more
               severe, and they become ever more difficult to manage. As treatments are
               primarily aimed at managing symptoms, rather than reversing its course or
               improving its cognitive symptoms, there is no expectation that patients whose
               dementia is caused by Alzheimer’s disease will recover or otherwise demonstrate
               improvement in their cognitive and functional abilities


               10.     In its motion, the government argues that the “Case Law Does Not Dictate

the Application of Section 4241” and states that the “Courts of Appeals that have chosen one

provision over the other have done so in dicta and without justifying their particular choice or

analyzing whether the release provisions in Section 4241(d)(2) apply to convicted defendants.”

Gov. Mot. at 14. The appellate cases cited by the government in support of applying 18 U.S.C. §

4244 do so as dicta and even then, those cases stand for other propositions.



               11. For example, United States v. Baldovinos, 434 F.3d 233 (4th Cir. 2006),

concerned whether a defendant could be forcibly medicated to restore competency for

sentencing and did not provide any analysis regarding which section is appropriate beyond

stating “If we were to vacate Baldovinos's sentence, and if he is presently incompetent to be



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sentenced, he could be provisionally sentenced to Butner or a similar institution pursuant to 18

U.S.C. § 4244(d).” Id. at 242. As the government does in its motion, Baldovino appears to

conflate competency with mental disease or defect. It defies common sense to analogize the

facts in Baldovino, who was suffering from schizophrenia and refused to take medication to

Lorenzana’s situation, over which he has no control and cannot be treated with medication.

               12. United States v. Mason, 52 F.3d 1286, 1288 n.2 (4th Cir. 1995), concerned the

standard to use in determining competency and not on which section should be followed once the

competency determination was made. In footnote two, the Fourth Circuit, without analysis, tries

to make a distinction between § 4244 and § 4241 “Section 4242 concerns defendant’s

competence to be sentenced, whereas Sec. 4241 relates to competence to stand trial.” This

statement only alluded to the fact that the lower court made that finding. It was not the result of a

full analysis of the difference between the two sections.

       13.     United States v. General, 278 F.3d 389 (4th Cir. 2002), concerned whether the trial

court erred in failing to order a competency hearing prior to accepting defendant’s plea. In

passing, the 4th Circuit cites Mason’s footnote 2 without further analysis. General did not address

the issues presented before this court. There the question was “whether the district court erred by

denying his request for further mental examination”. The court rejected his claim indicating that

General had the benefit of three mental examinations during the course of his proceedings.

Moreover, General did not suggest any new evidence on mental conditions that had not been

addressed on one of these prior three examinations. Thus, General does not advance the

government’s argument in any meaningful way.

               14.     The government’s survey of appellate case law on the relevant issue

apparently failed to uncover United States v. Jensen, 639 F.3d 802 (8th Cir. 2011). In Jensen,


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the defendant and the government moved for a hearing pursuant to 18 U.S.C. § 4244(a) to

determine if defendant suffered from a mental disease or defect and should be provisionally

sentenced as required by the statute. The district court denied the motion, “interpreting § 4244

as involving issues of competency.” Id. at 803. The 8th Circuit reversed and held that “§ 4244

involves mental-health issues separate from questions of competency and because § 4244 serves

purposes independent from the competency provisions of § 4241.” Id. (emphasis added).

              15. In its analysis, including a consideration of legislative history and case law,

the court stated, “In particular, competency provisions are now found in § 4241 whereas § 4244

addresses the altogether different situation where a party, competent to enter a guilty plea or

stand trial, nevertheless may be in need of mental-health treatment that would make

commitment to a mental-health facility more appropriate that incarceration. The current

statutory regime establishes separate standards for these distinct situations and requires a greater

and more specific showing to establish a lack of competency pursuant to § 4241 than to trigger

the procedures and provisional sentencing option of § 4244.” Id. at 805 (citing United States v.

Abou-Kassem, 78 F.3d 161, 165 (5th Cir. 1996)). See also United States v. Roberts, 915 F.2d

889 (4th Cir. 1990).

      16. The Jensen court further found that § 4244 “helps to meet several governmental

interests that are distinct from questions of competency, namely, ‘the governmental interests in:

(1) protecting mentally prisoners who might be at substantial risk if placed in general prison

population; (2) ensuring the safety of other inmates; and (3) providing humanitarian treatment

for mentally ill inmates.’” Id. at 806-06 (quoting Abou-Kasem, 78 F.3d at 165).

             17. United States v. Chaudhry, 646 F.Supp.2d 1140 (N.D. Cal. 2009), which the

government dismisses like an unruly child, is directly on point to the issue at hand. As the


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 Chaudhry court stated succinctly, the “issue before the Court is whether a defendant who has

 been convicted but not yet sentenced may be subject to a competency determination as set forth

 in 18 U.S.C. § 4241, or whether 18 U.S.C. § 4244 is the only provision that is operative at this

 stage of the proceedings.” Id. at 1141. That is precisely the issue before this Court.



       18. The Chaudhry court analyzed both statutes at issue and rejected the government’s

argument, which is the same as in this case. In the interest of time and economy, Mr. Lorenzana

cites the following cogent passages directly from Chaudry because that court’s reasoning is

directly on point to the issue here:

       Section 4241 codifies the standard for competency set forth by the Supreme Court
       in Dusky v. United States, 362 U.S. 402, 80 S.Ct. 788, 4 L.Ed.2d 824 (1960) (per
       curiam). In Dusky, the Court clarified that the test for competency is whether a
       defendant “has sufficient present ability to consult with his lawyer with a
       reasonable degree of rational understanding and whether he has a rational as well
       as factual understanding of the proceedings against him.” Id. (internal quotation
       marks omitted). The requirement that a defendant be competent during a criminal
       proceeding is predicated upon a defendant's right to due process. Medina v.
       California, 505 U.S. 437, 448, 112 S.Ct. 2572, 120 L.Ed.2d 353 (1992).

Chaudry, 646 F.Supp. at 1144.

       At no point does § 4244 refer to “competency.” Unlike § 4241, which codifies the Dusky
       standard for competency, § 4244 looks only to whether a mentally ill defendant is in need
       of “custody for care or treatment in a suitable facility” rather than imprisonment. See 18
       U.S.C. § 4244(a).

Id.

       After reviewing the statute, the relevant case law, and the legislative history, the
       Court concludes that § 4241 may apply where, as here, a defendant has already
       been convicted but has not yet been sentenced. Although § 4244 also applies
       during this period, the two statutes govern two separate and distinct inquiries.

Id. at 1144-45.

       The government's argument that § 4241 cannot apply is forestalled by the clear
       language of the statute. “It is elementary that the meaning of a statute must, in the
       first instance, be sought in the language in which the act is framed, and if that is
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       plain ... the sole function of the courts is to enforce it according to its terms.”
       Caminetti v. United States, 242 U.S. 470, 485, 37 S.Ct. 192, 61 L.Ed. 442 (1917).
       Section 4241 states that a motion to determine competency may be raised “[a]t
       any time after the commencement of a prosecution for an offense and prior to the
       sentencing of the defendant ....” 18 U.S.C. § 4241(a). Moreover, the statute
       provides that the issue to be determined is whether “the defendant may presently
       be suffering from a mental disease or defect rendering him mentally incompetent.”
       Id. A plain reading of § 4241 suggests that it applies here: the issue of competency
       was raised by Defendant after commencement of the prosecution and prior to
       sentencing, and the Court is considering Defendant’s present competency.

Id. at 1145.

       There is nothing else within the text of § 4241 that would suggest it cannot apply
       at this point in proceedings. The government argues that by inquiring into whether
       a defendant can “assist properly in his defense,” § 4241 must not apply post-
       conviction. See 18 U.S.C. §§ 4241(a), (d). First of all, the Court is not persuaded
       that a person can only “assist in his defense” at trial. Sentencing is a critical
       component of the criminal process through which a defendant should be able to
       participate on his own behalf. “The ability to assist in the defense is essentially
       equivalent to the ability to assist in sentencing.” United States v. Gigante, 996
       F.Supp. 194, 198 (E.D.N.Y.1998). The Federal Rules of Criminal Procedure
       explicitly provide for a convicted defendant's continued participation in the
       adversary process, for example, through review of a presentence investigation
       report, see Fed.R.Crim.P. 32(f), and allocution at the time sentencing, see
       Fed.R.Crim.P . 32(i)(4). “These activities are of considerable import.” United
       States v. Pellerito, 878 F.2d 1535, 1544 (1st Cir.1989).

Id.

       Second, those subsections both refer to the requirement that in determining
       whether a person is incompetent, the Court must find he is either unable to
       understand the nature and consequence of the proceedings or unable to assist
       properly in his defense. See 18 U.S.C. §§ 4241(a), (d). Even if the Court was to
       accept that the latter inquiry went only to the defendant's ability to assist before
       conviction, the statute contemplates that the defendant also must be able to
       understand the “proceedings” against him, which would include sentencing.

Id.

       The Court recognizes § 4244 also applies to the period of time post-conviction
       and presentencing. The Court is not convinced, however, that § 4244 applies to
       the exclusion of § 4241. This precise issue was considered by Judge Myron H.
       Thompson in United States v. Morris, 550 F.Supp.2d 1290 (M.D.Ala.2008). In
       Morris, the court rejected the very same argument put forth by the government
       here. Judge Thompson noted:

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               18 U.S.C. § 4241 and 18 U.S.C. § 4244 have two different roles. Section
               4241 governs how the court should treat a convicted defendant found to be
               mentally incompetent to be sentenced; where-as, § 4244, entitled
               “Hospitalization of a convicted person suffering from mental disease or
               defect,” governs how a court should sentence a convicted defendant who,
               while mentally competent to be sentenced, still suffers from a mental
               disease or defect and is need in care or treatment in a facility.

               Id. at 1293–94.

       In so ruling, the Morris court cited to United States v. Roberts, 915 F.2d 889 (4th
       Cir.1990). There, the Fourth Circuit noted that:

               Section 4241 applies to defendants found to be mentally incompetent to
               stand trial. Section 4244 applies to competent persons found to be
               suffering from a mental disease prior to sentencing .... Clearly those
               statutes apply to different types of mentally ill patients who cannot be
               lumped together into a group consisting of people with mental problems
               facing federal prosecution.

Id. at 1145-46 (citations omitted).

       The government's position was also expressly rejected in United States v. Gigante,
       996 F.Supp. 194 (E.D.N.Y.1998). There, Judge Jack Weinstein engaged in a
       particularly thorough discussion of the standards applicable to a mentally ill
       defendant at the time of sentencing. The court first noted that it was still unsettled
       as to whether the Dusky standard for competency applied to the sentencing portion
       of a criminal proceeding. Id. at 196. The court took a close look at relevant case
       law, examining the constitutional underpinnings of the competency standard and
       the importance of the sentencing phase in criminal proceedings. Id. at 196–98.
       The court concluded that “a defendant should be as capable of defending himself
       with the aid of an attorney when facing his sentence as when facing a jury” and
       held that “the Constitution requires the Dusky standard to apply at the penalty
       phase of a prosecution.” Id. at 198. The court then noted that the Dusky standard
       has been codified at 18 U.S.C. § 4241(d) and unequivocally rejected the argument
       that § 4241 did not apply during the sentencing process. Id. (“The phrase ‘prior to
       sentencing’ includes immediately prior to the sentencing, implying as a practical
       matter that it means ‘during sentencing’ as well.”)

       The Gigante court also recognized the qualitative difference between § 4241 and
       § 4244, noting “[m]ental illness is not equivalent to mental incompetence ... The
       presence of some degree of mental illness is not to be equated with incompetence
       to be sentenced.” Id. (internal citations and quotation marks omitted). The court
       concluded by finding that the defendant was competent under the § 4241 standard,
       so that his sentencing could then proceed under § 4244. Id. at 198–99.

       The Court finds the reasoning in both Morris and Gigante thorough and
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       persuasive. Aside from plain reading of the statutes, common sense also supports
       a finding that they govern separate inquiries. There are certainly individuals who
       are competent in that they can understand the nature and circumstances of the
       proceedings against them, but whose mental condition is such that treatment in a
       suitable facility is preferable to imprisonment. It is for these defendants that §
       4244 is instrumental.

       In addition to Morris and Gigante, there are multiple circuit decisions that clearly
       apply § 4241 in the post-conviction pre-sentencing context, contrary to the
       government's argument that there is a temporal limitation that applies here. In
       United States v. Pellerito, 878 F.2d 1535 (1st Cir.1989), the First Circuit held that
       “[t]he need for competency survives trial and extends through the sentencing
       phase of a criminal proceeding.” Id. at 1544. The court went on to examine the
       manner in which the district court applied § 4241, never questioning the
       applicability of the competency standard at this stage in the proceedings. In United
       States v. Garrett, 903 F.2d 1105 (7th Cir.1990), the court again applied the § 4241
       standard to a defendant who claimed he was incompetent prior to sentencing. Id.
       at 1115.

       The Court notes that the Fourth Circuit suggested a different conclusion in United
       States v. Mason, 52 F.3d 1286 (4th Cir.1995), where it noted that “Section 4244
       concerns a defendant's competence to be sentenced, whereas § 4241 relates to
       competence to stand trial.” Id. at 1288 n. 2. In Mason, however, the Fourth
       Circuit's fleeting reference to the two statutes did not engage in any discussion of
       the qualitative differences between the two statutes. Moreover, the question of
       which statute to apply was not before the court, as the § 4241 standard was clearly
       applicable because the defendant had yet to be tried. See id. Accordingly, the
       Court is not persuaded that the footnote in Mason refutes the reasoned analysis of
       Morris and Gigante or abrogates the application of § 4241 in Pellerito and
       Garrett.

Id. at 1146-47.

                  1.   Here, while Dr. Gutierrez has determined that Mr. Lorenzana is suffering

from Alzheimer’s disease and is thus suffering from a mental disease or defect, Dr. Gutierrez’

ultimate finding is that Mr. Lorenzana is not competent to proceed to sentencing. Given the plain

meaning of the statutes, the relevant case law and Dr. Gutierrez’ finding, this Court should

proceed pursuant to 18 U.S.C. § 4241 rather than § 4244.




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              WHEREFORE, for the foregoing reasons and any others that may become

apparent to the Court, Defendant respectfully requests that the government’s Motion be

DENIED.

Dated: Washington, DC
       April 24, 2014                       Respectfully submitted,

                                            BALAREZO LAW

                                                    /s/
                                    By:     ____________________________________
                                            A. Eduardo Balarezo, Esq.
                                            D.C. Bar # 462659
                                            400 Fifth Street, NW
                                            Suite 300
                                            Washington, DC 20001
                                            Tel: (202) 639-0999
                                            Fax: (202) 639-0899
                                            E-mail: aeb@balarezolaw.com

                                            Counsel for Defendant Waldemar Lorenzana


                                            /s/ Joaquin Perez
                                            __________________________________
                                            Joaquin G. Perez
                                            D.C. Bar 989889
                                            6780 Coral Way
                                            Miami, FL 33155
                                            Tel (305)261-4000
                                            Email : jplaw1@bellsouth.net




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                                 CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on this 24th day of April 2015, I caused a true and

correct copy of the foregoing Defendant’s Opposition to Government’s Motion to Proceed under

18 U.S.C. § 4241 to be delivered via email to the parties in this case.

                                                            /s/
                                                      ______________________________
                                                      A. Eduardo Balarezo




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